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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS



                                   )
SECURITIES AND EXCHANGE            )
COMMISSION,                        )
                                   )
           Plaintiff,              )
                                   )
    v.                             ) Case no. 17-cv-11633 DJC
                                   )
NAVELLIER & ASSOCIATES INC., LOUIS )
NAVELLIER,                         )
                                   )
           Defendants.             )
                                   )


                                     NOTICE OF APPEAL

       Notice is hereby given that Navellier & Associates, Inc. and Louis Navellier, Defendants

in the above-captioned action, appeal to the United States Court of Appeals for the First Circuit

from the Partial Summary Judgment Order filed on February 13, 2020, and companion Order

Dismissing Counts Three and Four filed March 26, 2020, and the Order denying reconsideration/

new trial filed on April 2, 2020 and all prior orders in this case subsumed in those February 13,

2020, March 26, 2020 and April 2, 2020 orders.
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                                         Respectfully Submitted
Dated: April 13, 2020 By:

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                                      Certificate of Service

        I certify that this document filed through the ECF system will be sent electronically to the
registered participants as identified on the Notice of Electronic Filing (NEF) and paper copies
will be sent to those indicated as non-registered participants on April 13, 2020.

                                                     /s/ Dan Cowan
                                                         Dan Cowan
